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EMILY PINON, on behalf of
herself and all others similarly
situated,

Plaintiff

v.


DAIMLER AG and MERCEDES
BENZ USA, LLC

Defendants




                              Declaration of Richard J. Eichmann
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I.    Qualifications

1. I am the same Richard Eichmann that filed a Declaration in this matter on January
     27, 2021. I am a Managing Director for NERA Economic Consulting. I have
     over 25 years of experience working as an economic consultant. During my
     career I have served as a consultant to both public and private companies in a
     variety of industries and have performed numerous quantitative forecasts,
     econometric models, valuations, and statistical and damages model analyses. I
     began working in litigation consulting in 1998, as a damages expert. Prior to that
     I worked as an economic analyst with J.D. Power and Associates, tasked with
     examining a variety of pricing and valuation options within the automotive
     industry, via the use of survey and econometric analyses, and other statistical
     analyses. Since 1998, working in litigation consulting, I have filed expert reports
     on the application of statistical methods, sampling, survey design, business
     valuation, and econometrics as they pertain to the calculation of damages and lost
     profits and diminution in value. I have taught and presented at conferences on the
     topic of valuation and damages as they relate to such matters. My current resume
     is attached within Appendix 1 to this Declaration. NERA is being compensated
     for my services at an hourly rate of $675. I have also been assisted by NERA
     staff members who are billed at tiered rates depending on their experience and
     qualifications. Neither my, nor NERA’s, compensation is dependent on the
     outcome of this matter.




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II.     Assignment

2. In this Declaration, I have been retained by Ponzio’s counsel to review the
      opinion put forth by Lee M. Bowron, submitted in connection with his alleged
      analysis to calculate the “value of the settlement.”1

III. Summary of Conclusions

      • Review of the Bowron Declaration.


             o Mr. Bowron fails to provide his workpapers and proper citations
                within his documentation, rendering it impossible to replicate his
                analysis.


             o Mr. Bowron’s analysis is internally inconsistent, as his narrative is at
                odds with the figures in his schedules.


             o Mr. Bowron arbitrarily selects ad hoc inputs to his model with no
                basis but for ipse dixit.


             o Subsequently, all of Mr. Bowron’s calculations are arbitrary and
                meaningless from an economic and valuation standpoint.


      • Economically speaking, the alleged settlement values presented by Mr.
         Bowron, at best, represent the estimated costs to Mercedes to repaint the
         Class Vehicles. However, an estimated cost to Mercedes to repaint the Class
         Vehicles is not a measure of the estimated relief to the Class Members. This

1
    See Lee M. Bowron Declaration, filed April 27, 2021 (“Bowron Declaration”).


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       estimated cost to Mercedes is not a proxy for the value of the settlement to
       the Class Members. Those two concepts (cost incurred by Mercedes and
       supposed value-add to Class members) are not a measure of one another.
       Said differently, what Mercedes may estimate as a contingent liability for
       purposes of the proposed Pinon settlement is not a proxy for “the value of
       the relief provided to the Class.”2 From an economic standpoint, the Class
       does not benefit from the estimated cost imposed on Mercedes.


    • The average estimated minimum out-of-pocket costs to the Class Members
       is greater than the average alleged benefit to Class Members under the Pinon
       settlement, rendering it economically irrational.


IV. Review of Bowron Declaration

3. I address data limitations first. Within his Declaration, Mr. Bowron notes that
    “[in] performing this analysis, [they] relied on data and other information
    provided to [them] by [Pinon counsel] and Daimler AG (Mercedes), as well as
    industry sources of data.”3 However, neither Mr. Bowron nor Pinon counsel have
    provided any of the underlying data utilized by Mr. Bowron in his analysis. As
    such, I am limited in my review to the .pdf file of his final report only, which is
    limited in describing the details of his analysis, as I will explain below. Mr.
    Bowron notes for example that “numbers in [his] exhibits are generally shown to
    more significant digits than their accuracy suggests,”4 which, therefore, renders


2
  See Plaintiffs’ Unopposed Motion for Award of Attorney’s Fees, Expenses, and Class
Representative Service Awards, and Incorporated Memorandum of Law, filed April 28, 2021, p.
8.
3
  Bowron Declaration, ¶34.
4
  Bowron Declaration, ¶35.


                                                                                          5
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      an exact replication of his analyses impossible without his underlying work
      papers.

4. Second, the failure to provide his work papers is not the only limitation. Mr.
      Bowron’s analysis is internally inconsistent.      That is, the narrative of his
      Declaration contradicts the schedules of his analysis. As an example, Mr.
      Bowron writes that he makes the assumption that the estimated miles driven per
      month are divided into five groups, or 550, 900, 1150, 1400, and 2100,
      respectively, with “20% of vehicles in each group.”5 Then in his Exhibit I.A. of
      his Declaration, Mr. Bowron lists a vehicle population for model year 2007
      vehicles of 4,433 (presumably this figure comes from data provided to him from
      Mercedes). If one fifth of those 4,433 vehicles (or 887 vehicles) are assumed to
      average 550 miles per month, then as of September 2019 you would expect the
      maximum of 79,200 miles (550 miles times 12 months times 12 years) on those
      887 vehicles. Similarly, if one fifth of those 4,433 vehicles (or 887 vehicles) are
      assumed to average 900 miles per month, then as of September 2019 you would
      expect the maximum of 129,600 miles (900 miles times 12 months times 12
      years) on those 887 vehicles. I would then expect to see that two fifths of 4,433
      vehicles (or 1,774 vehicles) would be listed as the figure in column 3 of Mr.
      Bowron’s Exhibit I.A. under the heading “exposures limited by miles,” but
      instead I observe Mr. Bowron enters 209 vehicles instead. In short, there is no
      way to reconcile Mr. Bowron’s figures without his underlying work papers, and
      his summary exhibits appear to contradict the narrative of his Declaration.
      Subsequently, the figures under column 3 of his Exhibit I.A., titled “exposures




5
    Bowron Declaration, ¶19.


                                                                                       6
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      limited by miles,” are inconsistent with the narrative described within his analysis
      itself.

5. As a further example, Mr. Bowron reports a series of estimated “claiming rates
      for reimbursement (percent of class members who have qualifying
      reimbursements who make claims)” in Exhibit VII of his Declaration. There he
      estimates claim rates of 31%, 32%, and 34% for model year 2004, 2005, and
      2006 Class Vehicles, respectively. Yet, in Exhibit I.A of his Declaration, Mr.
      Bowron reports “Future Losses” for model year 2004, 2005, and 2006 Class
      Vehicles, respectively, as zero for each year.         Alleging that 31% of Class
      Members possessing model year 2004 Class Vehicles will make claims under the
      Settlement and then reporting zero expected “future losses” for that year are
      internally inconsistent statements.

6. Third, even if one were to assume that column 3 of Mr. Bowron’s Exhibit I.B. is
      correct, albeit it cannot be verified or replicated at present as described above,
      Mr. Bowron then inexplicably and arbitrarily adds various mark-ups to his
      analysis without any basis but for ipse dixit. I discuss this below.

                • Mr. Bowron inexplicably and arbitrarily adds a 10% mark-up for
                  “insurance costs” for which he only says “the amount selected was
                  2.5% for premium taxes, 4% for profit, and 3.5% for other expenses.”6
                  He fails to describe what type of “profit” he is referring to (e.g., gross,
                  net, incremental). He has no description of what he means by “other
                  expenses.” Indeed, there is not one citation for any of these figures
                  resulting in an arbitrary 10% mark-up but for ipse dixit.



6
    Bowron Declaration, ¶26.


                                                                                           7
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             • With regard to administrative costs, Mr. Bowron again cites no
                references as to why he assumes an additional 15% mark-up, which he
                claims is “likely the low end of the range.”7 He fails to cite the basis
                for this “range” let alone why is it “likely the low end of it.”

             • Mr. Bowron continues. For he then adds these two 10% and 15%
                arbitrary mark-ups and (again without basis or citation) doubles them,
                as well as doubling the unexplained values in his column 3 of his
                Exhibit I.A.    Doing so gives him an alleged “point estimate” of
                approximately $33.5 million, according to Mr. Bowron.

             • These three add-ons, with no citation and no basis, serve to arbitrarily
                increase his estimate of “current loss” to “point estimate” by over 121%
                (i.e., $33.5 million divided by $15.2 million less 1).

             • This 121% arbitrary increase is then further arbitrarily said to vary plus
                or minus 20%; again, without citation or basis but for ipse dixit.

7. In short, all of Mr. Bowron’s calculations are arbitrary and meaningless from an
      economic and valuation standpoint.

V.      Bowron Fails to Derive the “Value of the Settlement” as Alleged and the
        Proposed Settlement Fails to Provide a Benefit to the Settlement Class
        Members

8. Mr. Bowron states that he was tasked with calculating “a range of the economic
      impact of a proposed settlement of Pinon v. Daimler, AG, MBUSA.”8 He claims


7
    Bowron Declaration, ¶28.
8
    Bowron Declaration, ¶6.


                                                                                       8
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     that the “total settlement value is the sum of the retail price of the service contract
     and the reimbursement of past claims”9 which, he concludes, is between
     approximately $32 million to $56 million.10 Mr. Bowron claims that this range
     provides an estimate “of the total economic value of the settlement.”11 It does
     not, irrespective of the actual figure. Pinon counsel is, therefore, incorrect when
     they claim that Mr. Bowron’s analysis provides “an estimate of the value of the
     relief provided to the Class.” It does not. Moreover, Pinon counsel incorrectly
     claims that their efforts provide “an exceptional benefit to the Settlement Class
     Members.”12 They do not.

9. Instead, what Mr. Bowron’s analysis represents, at best, albeit problematic for
     other reasons described above, is the estimated cost of the settlement for a Class
     Member to go to a hypothetical insurance carrier and get such a policy, added
     with the cost Mercedes estimates they may incur to repaint the Class Vehicles.
     This cost is not a proxy for the value of the settlement to the Class. Those two
     concepts are mutually exclusive from one another.            Said differently, what
     Mercedes may estimate as a contingent liability for purposes of the proposed
     Pinon settlement is not a proxy for “the value of the relief provided to the
     Class.”13 From an economic standpoint, the Class does not benefit from the
     estimated cost imposed on Mercedes. Even Mr. Bowron labels these costs as
     precisely that – losses to Mercedes. Column 2 of Exhibit I.A of his Declaration
     is labeled “Current Loss.” A loss (or cost) to Mercedes does not translate into a


9
  Bowron Declaration, ¶12.
10
   Bowron Declaration, ¶8.
11
   Bowron Declaration, ¶12.
12
   See Plaintiffs’ Unopposed Motion for Award of Attorney’s Fees, Expenses, and Class
Representative Service Awards, and Incorporated Memorandum of Law, filed April 28, 2021, p.
8.
13
   Ibid.


                                                                                          9
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      relief provided to the Class. As the scientific analysis presented by Dr. Glasgow
      quantitatively shows, with statistical significance, consumers devalue a Class
      Vehicle that has been repainted, lowering their willingness to pay (WTP) for a
      defective Class Vehicle by approximately $8,148.14 The cost to Mercedes
      associated with repainting these vehicles fails to represent, therefore, the
      diminution in value associated with Class Vehicles affected by the paint defect.

VI. Bowron Fails to Recognize that the Costs to be Incurred by the Class
        Members are Greater than the Benefit They will Likely Receive,
        according to the Settlement Proposed by Pinon Counsel

10. As mentioned above, Mr. Bowron reports a series of estimated “claiming rates
      for reimbursement (percent of class members who have qualifying
      reimbursements who make claims)” (i.e., claim rates) in Exhibit VII of his
      Declaration. There he estimates claim rates varying from 31% to 70% for model
      years 2004 to 2020 Class Vehicles, respectively. Said differently, Mr. Bowron
      expects apparently high claim rates by the Class Members in his opinion. From
      an economic perspective, this does not seem possible. As an economist, I opine
      that one would need to conduct a basic cost-benefit analysis to assess the
      economic impact of the proposed settlement. I conduct a basic cost/benefit
      analysis below.

             A. Proposed Costs to Class Members

11. I understand, according to the Third Amended Complaint, that the cost to repaint
      a Class Vehicle is at least $7,000 and as much as $11,300.15 The terms of the
      settlement proposed by Pinon counsel state that Class Members whose subject

14
     Expert Report of Garrett Glasgow, Ph.D., dated July 21, 2021.
15
     Third Amended Complaint, Doc. 55 ¶¶ 53, 93, and 122.


                                                                                    10
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      Class Vehicles have been in service for more than 84 months, or have over
      105,000 miles, would be required to pay 50% of the cost to repaint. That is, those
      Class Members would pay between $3,500 and $5,650 to repaint their cars (with
      Mercedes covering the cost of the other half).16 As for Class Members who
      possess Class Vehicles between 84 months and 15 years, and whose cars have
      under 150,000 miles, Class Members would be required to pay for 75% of the
      cost to repaint. That is, those Class Members would pay between $5,250 and
      $8,475 to repaint their cars (with Mercedes paying the remaining 25% of the
      cost).17 Therefore, Class Members would pay between $3,500 to $8,475 for the
      cost of repainting according to the proposed Pinon settlement. Said differently,
      the minimum cost a Class Member would incur to have their Class Vehicle (that
      has been in service for more than 84 months) repainted would be $3,500. I next
      examine the possible benefit Class Members may receive for incurring that cost.

             B. Possible Benefit to Class Members

12. To do so, I gathered publicly available data,18 via Kelly Blue Book (KBB),19
      relating to the trade-in values of Class Vehicles20 in both “good” and “very good”

16
     Doc. 70-1 at pg. 10.
17 Doc. 70-1 at pgs. 10-11 (“For a Subject Vehicle that received a Qualified Past Repair that does

not fall within category 4.1(a) or 4.1(b) and that is fewer than 15 years (180 months) or 150,000
miles from the Subject Vehicle’s original In-Service Date, whichever occurred first, a Settlement
Class Member making a qualifying claim shall, subject to the additional limitations governing
repairs performed by Independent Service Centers set forth in Section 4.2, receive
reimbursement of 25% of the cost incurred to perform the Qualified Past Repair...”).
18
   See workpaper file “Eichmann Schedule FINAL.xlsx”. Note, for sake of consistency, I
collected data for Class Vehicles with the assumption that they held 100,000 miles and had
standard equipment options.
19
   Kelly Blue Book is a vehicle valuation and automotive research company that is recognized by
both consumers and the automotive industry. See www.kbb.com.
20
   I understand Class Vehicles to include C-Class (model years 2004-2015); GLK-Class (model
years 2010-2015); CLS-Class (model years 2006-2007, 2009, 2014); CLK-Class (model years
2004-2009); S-Class (model years 2008, 2015, 2017); SL-Class (model years 2004-2009, 2011-
2017); CL-Class (model years 2005-2006, 2013-2014); SLS-Class (model years 2014-2015); E-


                                                                                               11
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    conditions. According to KBB, “the KBB® Trade-in Value is Kelly Blue Book’s
    estimate of what a consumer can expect to receive from a dealer for a trade-in
    vehicle assuming an accurate appraisal of condition.”21 Moreover, KBB
    considers a vehicle to be in “good” condition if the vehicle “has some repairable
    cosmetic defects and is free of major mechanical problems.”22 In addition, KBB
    considers a vehicle to be in “very good” condition if the vehicle “has minor
    cosmetic defects and is in excellent mechanical condition.”23                  Assuming
    repainting the Class Vehicles converts them from being classified as “good” (i.e.,
    a vehicle with a ‘reparable cosmetic defect’) to “very good” (i.e., a repainted
    vehicle with a now ‘minor cosmetic defect’), then the difference represents the
    increase in value a Class Member would receive from repainting their vehicle.
    The increase in the value of their Class Vehicle after the repaint would represent
    the monetary benefit a Class Member may receive from the proposed Pinon
    settlement.

13. The data I examined reveals that the average increase in trade-in value for a Class
    Vehicle for all model years is $1,138.24 As illustrated in Schedule 1 of this
    Declaration, the overall increase in trade-in value for Class Vehicles range from
    $440 to $1,719. That is, should a Class Member choose to have their Class
    Vehicle repainted, the maximum benefit a Class Member could expect to receive,
    which would come in the form of an increase in their vehicles trade-in value, is


Class (model years 2005-2006, 2010-2017); G-Class (model years 2005, 2011-2017); GT-Class
(model years 2016-2018); SLC-Class (model years 2017); SLK-Class (model years 2005-2016);
and Maybach 57 (model year 2008).
21
   Kelly Blue Book (Definitions of Our Values | Kelley Blue Book B2B (kbb.com), accessed July
15, 2021).
22
   Kelly Blue Book conditions are reflected on their website and found in “KBB Conditions.pdf”.
23
   Ibid.
24 See Schedule 1 of this Declaration.




                                                                                            12
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   capped, on average, at $1,719. Yet, a Class Member would need to incur a
   minimum out-of-pocket cost of $3,500, which is greater than the maximum
   benefit, of $1,719 they would receive in exchange. From purely an economic
   cost/benefit perspective, the proposed Pinon settlement not only fails to indicate
   the claim rates Mr. Bowron is estimating in his Exhibit VII, but, more
   importantly, I opine, is economically irrational and fails to provide relief to the
   Class Members.

Respectfully submitted,




Richard J. Eichmann

NERA Economic Consulting
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July 21, 2021




                                                                                   13
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                                                                         Schedule 1
                                                       Average Trade-In Value Increase by Model Year
                                             For Class Vehicles with Standard Equipment and Mileage of 100,000
    $2,500
                                                                             Overall Average Trade-in Value Increase




    $2,000




                                                                                                                                        $1,719
    $1,500
                                                                                                                             $1,482                           $1,464
                                                                                                                  $1,407
                                                                                                                                                   $1,306

                                                                                             $1,170
    $1,000                                                            $1,097
                                                                                                       $1,063
                                                           $1,000
                           $884                  $868

                                      $696                                          $705
     $500

                $440




       $-
               2004       2005       2006       2007       2008       2009          2010      2011      2012      2013       2014       2015       2016       2017
                                                                               Class Vehicle Model Year

       Note: “Trade-in Value Increase” represents the difference between the trade-in value of a “Very Good” vehicle vs. a “Good” vehicle. All data were compiled from
             Kelly Blue Book website between July 14 and 20, 2021. Due to data limitation, the trade-in value for certain class vehicle models and model years is unavailable,
             including Maybach 57 (2008); G-Class (2016); GT-Class (2016-2019); SL-Class (2016-2017); and SLS-Class (2014-2015).

     Source: “My Car’s Value,” Kelly Blue Book, https://www.kbb.com/whats-my-car-worth, last accessed July 20, 2021.


Richard Eichmann
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                                Appendix 1




Richard Eichmann
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                                                                    Richard J. Eichmann
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                                     Richard J. Eichmann
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Richard Eichmann specializes in the application of applied economic analysis in intellectual property,
securities, and other commercial litigation. His skills include valuation, econometrics, statistics,
sampling, and survey research. He has calculated economic damages in a variety of industries, including
the software, drone, encryption, mobile apps, telecommunications, social media, automotive, airline,
credit card, financial, energy, gaming and entertainment industries. He has filed expert reports in Federal
court on the application of statistical methods, sampling, survey design, and business valuation, lost
profits, and patent damages. He has over 22 years of experience working in litigation consulting, and has
provided arbitration, deposition and trial testimony for both jury and bench trials. He currently leads the
High-Tech Subcommittee for the IP Practice for NERA.

Prior to joining NERA, Mr. Eichmann provided economic analysis and dispute advisory services at
public and private litigation consulting firms as well as two Big 4 accounting firms. In addition, he has
worked as an analyst in the automotive industry utilizing proprietary survey research data for time series
analysis and as a research assistant for the Survey Research Center at the Institute for Social Research in
Ann Arbor, Michigan on panel study surveys.

Select Projects
Representative examples of Mr. Eichmann’s engagement experience include:

    Patent and Trademark Litigation
   Patent Infringement (Cryptographic Processing Relating to Routers and Modems) – Rebutted an
    opposing damages expert’s opinion for client Cisco regarding a reasonable royalty analysis that
    examined issues relating to the incremental benefit relating to cryptographic parallel processors.
   Patent Infringement (Standard Essential Patents Relating to DSL Technology) – Rebutted an
    opposing damages expert’s opinion for client 2Wire regarding FRAND reasonable royalty analysis
    that examined a modified top-down analysis estimating the benefits attributable to DSL SEP patents.
   Patent Infringement (Unmanned Aerial Vehicles - Drones) – Rebutted an opposing damages expert’s
    opinion for client Autel regarding a lost profits and reasonable royalty analysis that examined the
    alleged incremental profit attributable to the benefits of patented drone technology.
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                                                                   Richard J. Eichmann

   Patent Infringement (Thermal Cooling Technology) – Rebutted an opposing damages expert’s
    opinion for client Civiq regarding a lost profits and reasonable royalty analysis that examined the
    alleged infringement of thermal cooling technology.
   Patent Infringement (Smart Phone Protective Screen Covers) – Rebutted an opposing damages
    expert’s opinion for client Aeveo regarding a reasonable royalty that examined the incremental profit
    attributable to the benefits of patented smart phone screen protective covers.
   Patent Infringement (Smart Phone Mobile Camera Features) – Rebutted an opposing damages
    expert’s use of survey studies as an indication of value for client Motorola Mobility in a patent
    infringement suit concerning camera and Wi Fi features. I provided testimony within a jury trial
    before Judge Orrick in San Francisco, California.
   Patent Infringement (Social Media) – Provided client Facebook with a declaration that utilized
    statistical analysis to examine the underlying assumptions within the model of an opposing expert in
    a patent infringement suit.
   Patent Infringement (Enterprise Mobility Management) – Provided client MobileIron with an
    assessment of damages incurred as a result of an alleged patent infringement pertaining to Personal
    Information Management security. I provided testimony within a jury trial before Judge Grewal in
    San Jose, California.
   Patent Infringement (Gaming) – Rebutted an opposing damages expert’s calculation of reasonable
    royalty for client SteelSeries in a patent infringement suit concerning gaming mice technology. I
    provided testimony within a jury trial before Judge Payne in Marshall, Texas.
   Patent Infringement (Farm Equipment) – Hired as an expert to provide statistical analysis of the
    clinical trials run by an agricultural expert to examine the efficiency and alleged improved benefits
    of a mechanized corn seed planter.
   Patent Infringement (Mobile App – Video Streaming) – Provided a declaration relating to the
    economics of damages in support of a motion for an injunctive relief relating to patens associated
    with mobile streaming technology for Eko.
   Trademark Infringement (Hardware Trade Associations) – Assisted with the determination of
    potential market confusion among consumers and attendees of a national hardware trade association
    conference. Calculated the impact on profits for the conference, in terms of damages, given the
    impact.
   Trademark Infringement (Pharmaceuticals) – Rebutted an opposing expert’s damages opinion
    relating to alleged economic damages sustained by alleged market confusion for client Fera
    Pharmaceuticals.
   Copyright Infringement (Software) – Calculated damages sustained by a software manufacturer,
    Quest Software, Inc.


    Trade Secret Misappropriation
   Misappropriation of Trade Secrets (Networking and Telecommunications Market Reports) –
    Determined direct and consequential damages incurred by Dell’Oro Group as result of a breach of
    fiduciary duty by a former employee alleged to misappropriated trade secrets relating to the
    generation of standardized market reports.




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   Misappropriation of Trade Secrets (Lithium Solid State Batteries) – Valuing seven trade secrets
    relating to lithium solid state batteries that were alleged to have been misappropriated by former
    employees of Quantumscape Corporation.
   Misappropriation of Trade Secrets (Pharmaceutical Adjudication Services) – Led team in the rebuttal
    of alleged lost profit and unjust enrichment claims in defense of a leading pharmaceutical
    adjudication service provider accused of having illegally acquired trade secrets from a former
    business associate.
   Misappropriation of Trade Secrets (Gene Therapy) – Rebutted an opposing expert’s assessment of
    damages incurred by a former laboratory employee who alleged that a major academic university
    misappropriated his intellectual capital in the acquisition of a patented gene therapy.
   Misappropriation of Trade Secrets (Value Added Retailer) – Led team in the calculation of
    compensatory damages and unjust enrichment claims in defense of a value-added retailer in the
    Florida market accused of having illegally acquired trade secrets from a competitor.
   Misappropriation of Trade Secrets (Trading Models) – Named expert in a case that involved
    rebutting alleged damages sustained by an investment management company. The head of the
    quant group left, along with the core of his group to form a competitor investment management
    company. The Plaintiff alleged that when he left he took with him a proprietary trading model.
    Damages centered on valuing the worth and subsequent alleged diminution in value of the alleged
    stolen trading model.

    Antitrust
   Antitrust (Standard Essential Patents) – Provided consulting assistance to a confidential client
    regarding possible exposure to allegations on anticompetitive behavior due to its alleged failure to
    license patents at a fair, reasonable, and non-discriminatory (FRAND) rate that were deemed
    standard essential patents (SEP).
   Antitrust (Real Estate Markets) – Managed the analyses generated to rebut two expert reports that
    sought to calculate damages in an alleged price-fixing case. I provided statistical support in the case
    with regard to an examination of the validity of the plaintiff’s expert’s yardstick methodology.
   Antitrust (Construction Commodity) – Designed and managed statistical and econometric analyses
    to investigate the impact of alleged price-fixing among producers of a construction input commodity.
    Federal Sentencing Guideline dictated the estimation of affected commerce. A two-stage regression
    analysis that sought to isolate whether prices of alleged impacted months was utilized. The
    methodology in the case was ultimately described in an article presented at the Western Economic
    Association International Annual Conference in Vancouver, B.C. on July 1, 2009
   Antitrust (Energy) – Reviewed plaintiff’s pricing methodology and presented an alternative
    mitigated price methodology to the Federal Energy Regulatory Commission (FERC) that was
    ultimately accepted in the matter of the California energy dispute, concerning the defense of thermal
    generators against the charges of price fixing and collusion.
   Antitrust (Energy) - Conducted statistical analyses of trader behavior to determine the probability of
    systematic gaming behavior, in the matter of FERC allegations on natural gas traders, concerning the
    defense of energy futures trades against the charges of price manipulation.
   Antitrust (Energy) - Managed and led programming analyses of large disparate data sets for
    determining liability and timing issues, in the matter of an antitrust dispute concerning allegations of
    collusion in the electric markets.

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   Predatory Pricing Behavior (Pharmaceuticals) – Designed and managed the execution of
    econometric and statistical analyses of HIV pharmaceutical drugs as they pertained to alleged
    predatory pricing behavior of a supplier. Mr. Eichmann generated code to analyze various model
    specifications, correcting for first-series serial correlation that might indicate what exogenous
    variables influenced markets and how.
    Breach of Contract
   Breach of Contract (Non-Compete Provisions / Drayage Services) – Estimated the issue irreparable
    harm to Roadrunner in a breach of contract relating to non-compete provisions in a Stock Purchase
    Agreement.
   Breach of Contract (Winery) – Calculated damages sustained by Close LaChance Wines in a breach
    of contract allegation litigated before JAMs arbitration.
   Breach of Contract (Intellectual Property / Fraud) – Led team in the calculation of damages for a
    case where the plaintiff alleged that the defendant had failed to disclose a potential liability with
    regard to a possible infringement of intellectual property concerning soybean germ plasma prior to
    their merging of assets. The alleged liability materialized several years later and the plaintiff then
    sought indemnification under the benefit of the bargain method.
   Breach of Contract (Recreational Vehicles) – Rebutted the statistical validity of an opposing expert’s
    inferences on the use of his survey design in a matter dealing with the impact of sales to a
    recreational manufacturer as a result of an alleged harm to their reputation due to an interior drywall
    component. Within the same, case I wrote a separate report that rebutted the statistical validity of an
    economic expert’s damage calculation that sought to calculate the impact on sales due to an alleged
    reputational loss.
   Breach of Contract (Furniture) – Calculated lost profit damages alleged in a breach of contract case
    for DWS International, Inc. that involved analyzing management forecasts to estimate the fair
    market value of a lost opportunity as it related to the patio furniture market. I testified at trial before
    a jury trial in the Southern District of Ohio.
   Breach of Contract (Breast Pumps) – Calculated loss profit damages alleged in a breach of contract
    case for Whittlestone, Inc. that analyzed margin risk to estimate the fair market value of a lost
    opportunity as it related to the electric breast pump market.
   Breach of Contract (Agricultural Commodities) – Analyzed the short-term fixed cost structure of a
    slaughter house operating in a perfectly competitive environment as part of a breach of contract
    dispute in the agricultural commodities market.
   Breach of Contract (Telecommunications) - Managed the analytical aspects of a complex damage
    calculation model and prepared and presented our findings to counsel in the matter of a breach of
    contract dispute between two U.S. telecommunications firms.
   Breach of Contract (Auto Parts) – Calculated lost profits as a result of a breach of contract regarding
    easement rights and advertisement obstruction.
   Breach of Contract (Hair Coloring Products) – Calculated lost profits for client, BehindtheChair.com
    in an alleged breach of contract regarding profit distributions from a hair-coloring product business.




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    Valuation Consulting and Litigation
   Intellectual Property Valuation (Automotive) - Generated a cost-based valuation model for the
    intellectual property of a European automotive research and development facility as part of a tax
    minimization strategy for a multinational firm, successfully defended in court.
   Employee Stock Option Valuation (Retail Clothing) – Performed two business valuations for Robert
    Talbott, Inc. to estimate both the exercise current share price of a non-controlling, non-marketable
    privately-held high-end cloth manufacturer used to estimate the value of an alleged employee stock
    option held by a former CEO in dispute.
   Business Valuation (e-Commerce Start-Up) – Utilized ARIMA time series techniques to forecast
    subscription revenues of a charitable social network site, for which I calculated the fair market value
    of the minority interest. The income approach relied heavily on the use of historical subscription
    data that allowed for a range of values within a statistically confident interval.
   Business Valuation (Telecommunications) - Conducted a business valuation of an alleged lost
    international telecommunications opportunity that took into consideration varying capital structures
    within financial projections that served to rebut a plaintiff’s valuation model.
   Business Valuation (Financial Services) – Assisted with the critique of a business valuation
    involving a minority interest of an investment management firm arising out of an employment
    dispute.

    Securities
   Securities Litigation (IPO) - Adapted 10b-5 securities litigation model to estimate alleged damages
    of IPO allocations and valuations, in the matter of a class action lawsuit against a consortium of
    major Wall Street underwriters.
   Breach of Contract (Hedge Funds) – Calculated damages for a case that dealt with breach of an
    investment contract between a seed financier and a hedge fund for SGAM Newedge Management,
    Inc. The case involved valuing a hedge fund as a proxy for alleged lost profits. I testified at a JAMS
    arbitration in New York.
   Securities Fraud (Stock-Option Back Dating) – Derived statistical models to examine the frequency
    of stock-option back dating instances and their effect on reported earnings.
   Securities Fraud (Earnings-Smoothing) – Led a team of financial economists to investigate and
    isolate the prevalence and method in which earnings smoothing impacted share value.
   Mortgage-Backed Securities (Statistical Analysis) – Managed and designed econometric models
    tasked with analyzing loss causation as it relates to losses across tranches within securitizations.
   Mortgage-Backed Securities (Statistical Analysis) – Named sampling expert in the Galena Street
    Fund v. Wells Fargo Bank, N.A. matter.
   Mortgage-Backed Securities (Statistical Analysis) – Named sampling expert in the Federal Housing
    Finance Agency v. J.P. Morgan Securities LLC et al matter.
   Mortgage-Backed Securities (Statistical Analysis) – Named sampling expert in the Federal Home
    Loan Bank of Pittsburgh v. J.P. Morgan Securities LLC et al matter.
   Mortgage-Backed Securities (Statistical Analysis) – Provided statistical support of a motion to deny
    class certification of a proposed class of investors that sought restitution from an underwriter for



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    allegedly not having properly accounted for the risk of the underlying collateral of several
    securitizations.
   Mortgage-Backed Securities (Statistical Analysis) – Provided statistical and econometric support
    examining the factors that influence the likelihood of loan default as it pertained to a class action that
    sought restitution of the alleged wrongdoings of a municipal bond insurance agency.
   Mortgage-Backed Securities (Statistical Analysis) – Provided statistical support in examining the
    difference of bid and close data provided a municipal bond insurance agency.
   Securities Litigation (10b(5)) – Conducted event studies and loss causation models on a variety of
    10b(5) class action case matters.
   Insider Trading – Created an econometric model to analyze the impact and materiality of alleged
    insider tip investigated by the SEC.

Commercial Class Action Litigation
   Class Action (Eyeglasses) – Calculated damages sustained by a class of individuals whose
    eyeglasses had been sold to them with an alleged false claim of increased precision by LensCrafters
    AccuFit measurements. I utilized a conjoint analysis producing a Willingness to Pay result from a
    mixed logit model to run a market simulation to arrive at the premium consumers paid as a result of
    not knowing about the misrepresentation.
   Class Action (Diesel Engines) – Calculated damages sustained by a class of individuals whose Class
    8 trucks had been sold to them with a manufacturer defect relating to Paccar MX-13 diesel engines.
    I utilized a hedonic regression to isolate the effect of the defect on the resale value of the vehicles.
   Class Action (All-Terrain Vehicles) – Calculated damages sustained by a class of individuals whose
    ATV vehicles had been sold to them with a manufacturer defect. I utilized a conjoint analysis
    producing a Willingness to Pay result from a mixed logit model to run a market simulation to arrive
    at the premium consumers paid as a result of not knowing about the defect.
   Class Action (Automotive) – Calculated damages sustained by a certified class of individuals whose
    vehicles had been inappropriately seized by a municipality. The task involved analyzing auction and
    automotive valuation data to determine both the delta and the float.
   Class Action (Automotive) – Designed and managed the execution of econometric and statistical
    analyses of secondary market pricing in a particular vehicle segment in defense of price impact
    allegations due to alleged non-disclosures by Ford Motor Company. We utilized econometrics to
    demonstrate that a recall did not, as the plaintiffs alleged, negatively impact depreciation rates of
    vehicles, but rather other market forces explain the sudden drop, such as rising lease terminations,
    market segment saturation.
   Class Action (Software Auctions) – Addressed class certification issues as they arose in matter
    dealing with the alleged breach of contract in the use of auctions. The matter involved analyzing
    the expected value of an auction.
   Class Action (Gaming) – Hired by the Indiana state lottery commission to provide consulting
    services in relation to a class action litigation matter, where I designed and managed the execution of
    an econometric model that generated expected consumer pricing behavior of a scratch-off game.
    The model determined the 95 percent confidence interval of sales the lottery commission could have
    expected to receive but for an alleged misstatement of probabilities on their website.



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    Class Action (Breach of Contract / Fraud) – Led team in the calculation of damages for a case where
    the plaintiff alleged that the defendant willingly failed to pay royalties. The case involved a stratified
    statistical sampling so as to investigate the liability claims of intent as well as damage implications,
    if any.


    False Advertising
   False Advertising (Refresh Rates in Televisions) – Rebutted class action damages for Vizio in a
    matter involving alleged misrepresentation of refresh rates in television monitors.
   False Advertising (Enterprise Resource Planning Software Implementation) – Rebutted alleged
    economic damages sustained by a global salvage company due to an alleged failed ERP
    implementation system for Sparta Consulting, Inc.
   False Advertising (Credit Cards) – Calculated economic damages sustained by a credit card
    processing company, Heartland Payment Systems, Inc., due to the alleged false advertising of its
    competitor regarding pass-through costs to merchants.
   False Advertising (Consumer Products) – Rebutted economic damages for Philips Oral Healthcare,
    Inc., alleged to have been sustained class as a result of an alleged false claim regarding product
    quality.
   False Advertising (Trade Association) – Calculated economic damages sustained by a promoter of a
    trade association trade show that alleged that a competitor trade show was creating consumer
    confusion due to the use of their trademark infringement and false advertisement.
   False Advertising (Hand Tools) – Calculated economic damages alleged by a class as a result of
    false advertising, which promoted hand tools sold in the United States as “American made.”
   False Advertising (‘Sippy’ Cups) – Calculated economic damages alleged by a competitor as a result
    of false advertising, which stated that certain children’s ‘sippy’ cups held certain patents, which they
    did not.
   False Advertising (Beverages) – Calculated economic damages alleged by a competitor as a result of
    consumer confusion brought on due to false advertising, which stated that certain beverages held
    certain ingredients, which they did not


    Labor and Employment Litigation
   Class Action (Discrimination) – Analyzed the economics relating to the closing of certain call-
    centers for an airline company alleged of engaging in age discrimination. While initial analyses
    provided prima facie evidence of possible age discrimination when identifying the statistical
    differences among call-centers, further analysis indicated that regional influences were in fact
    greater and more prominent in influencing the company’s actions.
   Class Action (Discrimination) – Generated a probit econometric model of the firm’s data to model
    the effects of race, gender, and other attributes and their alleged effect on the probability of an
    employee being fired as part of an alleged employment discrimination case.
   Class Action (Discrimination) – Analyzed class certification issues as they related to an allegation
    that defendant chose to close an airline call-center due to the gender and age of its employees. The
    analysis included both an inquiry of descriptive and inferential statistics as well as cost accounting
    considerations


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   Class Action (Discrimination) – Designed and managed statistical and econometric analyses to
    investigate the allegation of discriminatory behavior within a major bottling distributor.
   Class Action (Wage/Hour Dispute) – Analyzed class certification issues as they related to a wage-
    hour dispute of a perfume manufacturer. Conducted a stratified sampling exercise of hand-written
    invoices of proposed class members and examined the variability, if any, of their work experiences
    that would influence whether or not they were improperly classified as independent contractors.
   Class Action (Wage/Hour Dispute) – Analyzed class certification issues as they related to a wage-
    hour dispute of the Skywest airline company. Examined various influencing factors that played a
    role in determining the probability of an alleged class member missing his/her lunch break and how
    the variance revealed from the data among the influencing factors affects commonality among the
    alleged class members.

    Economic and Statistical Consulting
   Statistical (Gemology) – Designed statistical tests to examine the likelihood of collusion within
    international grading facilities of various gems, including diamonds.
   Economic (Automotive Markets) – Co-authored the U.S. automotive industry newsletter for J.D.
    Power and Associates, working directly under the senior economist in executing and managing their
    syndicated market forecasts and reviews.
   Econometrics (Forecasting) - Created and maintained ARIMA production and sales forecast models
    for the U.S. and developing markets, including Asia and Latin America.
   Forensic Investigations – Led a FCPA investigation for a U.S. petroleum company with subsidiaries
    in the Latin America. The case dealt with utilizing statistical techniques on a large set of general
    ledger transactions and a series of financial statement analyses that ultimately revealed a complex
    fraud where funds were being laundered via service contracts to funnel bribes.




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Education
            California Institute for Integral Studies, San Francisco, CA
2020        Graduate Student in Philosophy

            George Mason University, Fairfax, VA
2000        Doctoral Economics Department Coursework

            University of Michigan, Ann Arbor, MI
1996        M.A. in Applied Economics
            Completed Comprehensive Exams
            Completed Econometrics Field Exam

            University of Michigan, Ann Arbor, MI
1995        BA, Economics
            Thesis “Essays in Stochastic Growth”

            University of Michigan, Ann Arbor, MI
1995        BA, Philosophy
            Thesis: “An Epistemological Critique of Kantian Objective Reality”

Certifications
            National Association for Certified Valuators and Analysts (NACVA)
2016        Master Analyst in Financial Forensics (MAFF) - Commercial Damages
            Credential ID 703

            National Association for Certified Valuators and Analysts (NACVA)
2009        Certified Valuation Analyst (CVA)
            Credential ID 991115


Certificates Completed
            Berkeley Law Executive Program (Online Program)
2020        Certificate in Artificial Intelligence

            Berkeley Center for Law & Technology (Online Program)
2020        Certificate in China Law, Trade, and IP

            Indian Institute of Technology (IIT), Bombay (Online Program)
2020        Certificate in Computer Science

            HarvardX (Online Program)
2020        Certificate in Computer Science and Mobile Apps


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              eCornell (Online Program)
2020          Certificate in 5G Strategy



Professional Experience
               NERA Economic Consulting, San Francisco, CA and Los Angeles, CA
2014 - present Senior Vice President / Managing Director (2020 – present)
               Vice President / Director (2014 – 2019)
               Economic Damages / Litigation Consulting

               FTI Consulting, Inc., San Francisco, CA (2009 – 2014) and Chicago, IL (2004 – 2009)
2004 - 2014    Managing Director (2009 – 2014)
               Director (2006 – 2008)
               Manager (2004 – 2006)
               Forensic & Litigation Consulting
               Economic Damages / Litigation Consulting

               Cornerstone Research, Washington, D.C.
2001 - 2004    Research Associate (2001 – 2004)
               Economic Analysis and Dispute Advisory Services
               Economic Damages / Litigation Consulting

               Ernst & Young, LLP, Washington D.C. and Detroit, MI
2000 - 2001    Senior Consultant (2000 – 2001)
               Economic and Quantitative Analysis
               Valuation of Intangible Assets for Transfer Pricing Purposes

               KPMG, LLP, Washington D.C.
1998 - 2000    Consultant (1998 – 2000)
               Forensic and Litigation Consulting
               Economic Damages / Litigation Consulting

               J.D. Power and Associates, Troy, MI
1996 - 1998    Analyst (1997 – 1998)
               Research Analyst (1996 – 1997)
               Forecasting and Economic Analysis
               Econometric and Discrete Choice Modeling Survey Analysis

               University of Michigan, Ann Arbor, MI
1995 - 1996    Researcher, Inter-University Consortium for Political and Social Research
1993 - 1996    Researcher, Institute for Social Research (ISR), Survey Research Center




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Teaching Experience
               National Association for Certified Valuators and Analysts (NACVA)
2015 - present Teach valuation training courses concerning econometrics and intellectual property
               damages as part of the Financial Forensics training program

            FTI Consulting, Inc.
2005 – 2014 Developed and taught a three-day CLE-approved course titled “Calculating Economic
            Damages in Commercial Litigation” as part of the national training for consultants and
            senior consultants across all FTI Consulting, Inc. business segments.

              Northern Virginia Community College, Alexandria, VA
1998 - 1999   Adjunct Lecturer within the Department of Economics, teaching “Microeconomics 101”
              and “Macroeconomics 102”

1995 - 1996   University of Michigan, Institute for Social Research (ISR), Survey Research Center
(summers)     Teaching Assistant for the Summer Institute in Social Research Methods, assigned to
              assist international graduate students taking courses “Introductory Statistical Methods
              and Applications for the Social Sciences” as well as “Econometrics”

Honors and Awards
              National Association of Certified Valuators and Analysts
2014          Named one of the “40 Under Forty” valuation analysts.

              FTI Consulting, Inc.
2005 - 2014   Recognized for “Excellent Contributions in Training” for 9 years in a row

Publications
 1. “Forward Citation Analysis as a Means to Apportion Relative Value in Patent Infringement Cases,”
    published by the National Association for Certified Valuators and Analysts (NACVA), QuickRead on
    February 18, 2016.

 2. “An Overview of Methods for Estimating Lost Revenues in Economic Damages,” published by the
    National Association for Certified Valuators and Analysts (NACVA), QuickRead on June 18, 2015.

 3. “Use of Two-Stage Linear Regression Models in Identifying the Existence and Extent of Affected
    Commerce in Price-Fixing Cases,” co-author with M. Mercurio, working paper.

 4. “Continuing Patent Applications and Performance of the U.S. Patent and Trademark Office –
    Extended,” co-authors C. Quillen and O. Webster, The Federal Circuit Bar Journal, August 2002.


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5. “Southeast Asian Crisis: Implications in the Asian Automotive Industry,” co-author R. Schnorbus,
   J.D. Power and Associates Syndicated Report, December 1997.

Presentations
1. “IP & Antitrust: Considerations for the High-Tech Sector,” panelist, hosted by Antitrust West Coast
   Conference, held on November 17, 2020.

2. “Lost Profits: Principles, Methods and Strategies to Prove and Defend Damages LIVE Webcast,”
   presenter, hosted by The Knowledge Group, held on October 7, 2019.

3. “Smallest Saleable Patent-Practicing Unit when Deriving FRAND in Light of Recent Federal
   Rulings,” presenter, hosted by the Damages and Injunction Committee of the IPO, held on June 13,
   2019 via a Committee hosted webinar.

4. “The Concept of Apportionment in Patent Infringement Matters: Methods Considered,” presented at
   the NACVA and CTI’s 2019 Annual Consultants’ Conference in Salt Lake City, UT on June 6, 2019.

5. “Overview of Damages in IP Litigation Involving Standard Essential Patents (SEPs),” presented as
   part of the “Issues in Litigation” section of the Western Economic Association International (WEAI)
   Conference in Tokyo, Japan on March 22, 2019. https://weai.org/files/view/26/Prelim-Prog-
   Tokyo2019.pdf

6. “Calculating Intellectual Property Damages – How to Prepare for the 2019 Landscape,” co-presenter,
   hosted by The Knowledge Group, held on February 13, 2019 via webinar.
   https://www.theknowledgegroup.org/webcasts/calculating-intellectual-property-damages/

7. “IP and Antitrust Developments for the High Tech Sector,” panelist, Antitrust West Coast 2019, held
   on February 12, 2019 in San Francisco, CA, https://law.knect365.com/antitrust-usa-west-coast/.

8. “An Overview of Damages and the Role of the Damages Expert in Intellectual Property,” instructor,
   Financial Valuation Seminar, hosted by the National Association of Certified Valuators and Analysts
   (NACVA), held on December 14, 2018 in Ft. Lauderdale, Florida,
   http://www.nacvanation.com/ftlauderdale/.

9. “Transnational IP Litigation: Opportunities and Challenges – Focus on US IP Litigation,” panelist,
   Berkeley-Tsinghua Annual Forum of 2018, jointly hosted by the Berkeley and Tsinghua Schools of
   Law, held on December 4, 2018 in Beijing, China, https://tbsi.berkeley.edu.

10. “Trade Secret Damages: Remedies for Victims of Trade Secret Violations,” panelist, hosted by the
    Daily Journal Professional Education, held on October 30, 2018 in Palo Alto, California,
    http://legacy.callawyer.com/events/trade-secrets-2018/#event-venue.

11. “Factors to Consider for Injunctive Relief from an Economic Perspective: Irreparable Harm,”
    presenter, hosted by the Damages and Injunction Committee of the IPO, held on October 11, 2018 via
    a Committee hosted webinar.

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12. “Mock International Arbitration: Toward Early Dispute Resolution of Standard Essential Patents
    (SEPs) in the 5G Era,” presenter, hosted by the Japan Patent Office, the University of Tokyo, and the
    Rader Foundation, held on June 29, 2018 at the University of Tokyo, Japan,
    http://www.jpo.go.jp/shoukai_e/soshiki_e/photo_gallery2018062991.html.

13. “Patent Infringement Damages,” presented on February 1, 2018, presenter, hosted by The Knowledge
    Group via a webinar, https://www.theknowledgegroup.org/webcasts/patent-infringement-and-
    damages.

14. “Trade Secret Damages from the Perspective of a Damages Expert,” presented on October 18, 2017,
    as a guest lecturer for the UC-Davis School of Law course titled “Trade Secrets and Restrictive
    Covenants, Employee Mobility, Raids, and Corporate Espionage.”

15. “Trade Secret Damages and Remedies,” co-presenter, hosted on May 19, 2017 by Bridgeport
    Continuing Education in San Francisco, California, http://bridgeportce.com/bridgeportce/live-
    programs/trade-secret-and-employee-mobility-san-francisco-2017.html.

16. “A Penny or a Pound: Apportioning Damages in Patent Cases,” panel member hosted on May 17,
    2017, by the Licensing Executive Society (LES), Silicon Valley Chapter in Palo Alto, California,
    http://www.lesusacanada.org/event/201705svc.

17. “Raising Start-Up Capital,” panel member of a webinar, hosted by Expert Webcast on January 7,
    2016, available on demand at http://www.expertwebcast.com/raising-start-up-capital/.

18. “Patent Infringement Reasonable Royalty Damages: Apportion the Increment?,” panel member
    hosted by the Asian Pacific American Bar Association (APABA) in Palo Alto, CA on November 23,
    2015.

19. “Calculation of Economic Damages in Patent Litigation Matters,” at the Financial Forensics and
    Expert Witness Conference, hosted by the National Association for Certified Valuators and Analysts
    (NACVA) in Houston, TX on October 19, 2015.

20. “Ease of Enforcement and Magnitude of Damages Awards as Determinative Factors in Establishing
    the Market Value of a Patent: Trends in IP Damages Awards,” at the Tenth Annual Conference on
    Best Practices in Patent Monetization, hosted by Law Seminars International in San Francisco, CA on
    March 26, 2015.

21. “Supreme Court Takes a Middle Path in Reaffirming Fraud on the Market Theory,” presented via
    Thomson Reuters as a national webinar on September 3, 2014 and currently available online via West
    LegalEdCenter.

22. “Statistical and Technological-Based Fact-Gathering in Wage-and-Hour Cases,” at the Annual Wage
    & Hour Conference presented via Bridgeport Continuing Education in San Francisco, CA on October
    10, 2013.



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23. “Business Damages Analysis & Modeling: Litigating and Proving Damages,” presented via
    Bridgeport Continuing Education in San Francisco, CA on May 10, 2013.

24. “New Disclosure Rules and What They Mean For ERISA Class Certification,” panel speaker for FTI
    Consulting ERISA Fiduciary Litigation and Compliance Breakfast Series 2012 in Chicago, IL on
    April 24, 2012.

25. “Understanding and Proving Damages: Business Damages Analysis and Modeling,” presented via
    Bridgeport Continuing Education in San Francisco, CA on April 12, 2012.

26. “Litigating a Trade Secret Case: Economic Damage Considerations,” presented via Bridgeport
    Continuing Education in San Francisco, CA on December 9, 2010.

27. “Financial Forecasting,” presented within the Mergers and Acquisitions section of the American
    Institute of Certified Public Accountants (AICPA) meeting held in San Francisco, CA on August 4,
    2010.

28. “Application of Multivariate Regression Analysis in Identifying Economic Damages,” white paper
    presented under the “Law and Crime” section of the Western Economic Association International
    Annual Conference in Portland, Oregon on July 1, 2010.

29. “The Use of Regression Analysis as a Means to Better Forecast Sales When Using the DCF Method,”
    presented within the Business Valuation section of the National Association of Certified Valuators
    and Analysts (NACVA) and Institute of Business Appraisers (IBA), 2010 Annual Consultants’
    Conference, held in Miami, Florida, on June 4, 2010, now available online as a webinar
    (https://www.nacva.com/store_product.asp?prodid=120).

30. “Hand Rule as a Basis for Calculating Punitive Damages” paper originally presented at the Southern
    Economic Association Conference in Washington, DC on November 19, 2005 and again at the
    Annual Meeting of the World Institute for Research and Publication (WIRP) – Law on May 16, 2010.

31. “Use of Two-Stage Linear Regression Models in Identifying the Existence and Extent of Affected
    Commerce in Price-Fixing Cases,” paper to be co-presented with M. Mercurio under the
    “Commercial Damages and Antitrust Litigation” section of the Western Economic Association
    International Annual Conference in Vancouver, B.C. on July 1, 2009.

32. “An Economic Analysis of Punitive Damages” co-presented with Andrew Frey of Mayer, Brown,
    Rowe & Maw LLP and John Thomas, Office of General Counsel of Ford Motor Company at a
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